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   8   Attorneys for Defendants
   9                   IN THE UNITED STATES DISTRICT COURT
  10                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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  12
       JAMES MILLER, et al.,                     19-cv-1537 BEN-JLB
  13
                                   Plaintiffs,
  14
                  v.                             NOTICE OF APPEARANCE OF
  15                                             ANNA FERRARI AS COUNSEL
                                                 FOR DEFENDANTS
  16   CALIFORNIA ATTORNEY
       GENERAL ROB BONTA, et al.,
  17
                                 Defendants. Judge:        Hon. Roger T. Benitez
  18                                         Courtroom: 5A
                                             Action Filed: August 15, 2019
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                                   Notice of Appearance of Anna Ferrari (19-cv-1537 BEN-JLB)
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   1        PLEASE TAKE NOTICE THAT Deputy Attorney General Anna Ferrari
   2   hereby enters an appearance as additional counsel for Defendants Rob Bonta, in his
   3   official capacity as Attorney General of the State of California, and Blake Graham,
   4   in his official capacity as Acting Director of the Department of Justice Bureau of
   5   Firearms.1 Ms. Ferrari is a member in good standing of the State Bar of California
   6   and is admitted to practice before this Court. Ms. Ferrari’s contact information is as
   7   follows:
   8        Anna Ferrari
            455 Golden Gate Ave., Ste. 11000
   9        San Francisco, CA 94102
            Telephone: (415) 510-3779
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            E-mail: Anna.Ferrari@doj.ca.gov
  11
  12   Dated: August 8, 2022                         Respectfully submitted,
  13                                                 ROB BONTA
                                                     Attorney General of California
  14                                                 P. PATTY LI
  15                                                 Supervising Deputy Attorney General
                                                     JOHN D. ECHEVERRIA
  16                                                 Deputy Attorney General
  17
                                                     s/ Anna Ferrari
  18                                                 ANNA FERRARI
                                                     Deputy Attorney General
  19                                                 Attorneys for Defendants
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         Rob Bonta has succeeded former Attorney General Xavier Becerra as the
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       Attorney General of the State of California, and Blake Graham, now Acting
  26   Director of the Bureau of Firearms, has succeeded former Director Luis Lopez, who
  27   in turn succeeded former Interim Director Brent E. Orick. Pursuant to Federal Rule
       of Civil Procedure 25(d), Attorney General Bonta and Acting Director Graham, in
  28   their respective official capacities, are substituted as the defendants in this case.
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                                      Notice of Appearance of Anna Ferrari (19-cv-1537 BEN-JLB)
